
Per Curiam.
This is an appeal from the summary denial of Appellant's successive motion for postconviction relief. We affirm the summary denial of Appellant's inconsistent verdict claim. However, we reverse and remand for an evidentiary hearing on Appellant's newly discovered evidence claim. See Utile v. State , 235 So. 3d 1045, 1048 (Fla. 5th DCA 2018) ; Simpson v. State , 100 So. 3d 1258, 1260 (Fla. 4th DCA 2012) ; Coley v. State , 74 So. 3d 184, 185 (Fla. 2d DCA 2011).
AFFIRMED in part; REVERSED in part; and REMANDED for further proceedings.
Ray, Bilbrey, and Jay, JJ., concur.
